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 PROB 12C                                                                             Report Date: October 6, 2017
(6/16)

                                       United States District Court                                   FILED IN THE
                                                                                                  U.S. DISTRICT COURT
                                                                                            EASTERN DISTRICT OF WASHINGTON
                                                       for the
                                                                                             Oct 10, 2017
                                        Eastern District of Washington
                                                                                                 SEAN F. MCAVOY, CLERK


                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Kimberly Lee Fawver                      Case Number: 0980 2:13CR00096-RHW-1
 Address of Offender:                        Spokane Valley, Washington 99206
 Name of Sentencing Judicial Officer: The Honorable Robert H. Whaley, Senior U.S. District Judge
 Date of Original Sentence: January 23, 2014
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1349;
                          Aggravated Identity Theft, 18 U.S.C. § 1028A
 Original Sentence:       Prison - 48 months;               Type of Supervision: Supervised Release
                          TSR - 60 months
 Asst. U.S. Attorney:     Timothy John Ohms                 Date Supervision Commenced: November 25, 2016
 Defense Attorney:        Federal Defenders Office          Date Supervision Expires: November 24, 2021


                                         PETITIONING THE COURT

                To issue a warrant.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            1           Standard Condition # 2: The defendant shall report to the probation officer in a manner and
                        frequency directed by the Court or probation officer.

                        Supporting Evidence: On November 25, 2016, supervision commenced in this matter. On
                        November 28, 2016, a supervision intake was completed. Ms. Fawver signed a copy of her
                        judgement, acknowledging an understanding of the conditions imposed by the Court, which
                        includes standard condition number 2, as noted above. She was directed to report in person
                        within the first 5 days of each month, unless otherwise directed.

                        Ms. Fawver violated the terms of supervised release by failing to report on or about October
                        4, 2017, or since.

                        On September 20, 2017, the undersigned officer attempted to conduct an initial home visit
                        as Ms. Fawver had moved into her current residence approximately 1 week prior. Ms.
                        Fawver was not home at the time. Ms. Fawver’s mom, Sally Campbell, indicated Ms.
                        Fawver had just left for the store, and agreed to have Ms. Fawver call the undersigned
                        officer upon her return. The undersigned did not hear from Ms. Fawver that day. The
                        undersigned contacted Ms. Fawver’s Washington State Department of Corrections (DOC)
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                 community corrections officer (CCO), who advised he has had difficulty contacting Ms.
                 Fawver. In fact, Ms. Fawver had not yet made DOC aware of her new address.

                 On September 22, 2017, the undersigned was contacted by Brittney Hearn, Ms. Fawver’s
                 significant other, who was previously on federal supervision. Ms. Hearn advised, via text
                 messaging, that Ms. Fawver was admitted into the hospital. There were multiple attempts
                 to reach Ms. Fawver or Ms. Hearn by phone, but those efforts were unsuccessful.

                 On September 28, 2017, the undesigned called the hospital in an effort to locate Ms. Fawver.
                 The hospital staff advised they did not have a patient by her name there in the last 3 days.
                 Later that day, Ms. Hearn sent the undersigned a text message stating the hospital put Ms.
                 Fawver on an automatic privacy listing. She further reported Ms. Fawver discharged from
                 the hospital that morning.

                 Follow up contact with the hospital indicated Ms. Fawver was in the hospital from
                 September 22, to September 24, 2017. They further advised that the privacy setting is done
                 at the patient’s request and the patient and hospital staff would be required to complete
                 paperwork. This did not occur in Ms. Fawver’s case.

                 On October 2, 2017, the undersigned attempted to locate Ms. Fawver at her residence. Ms.
                 Fawver’s mother advised that we had just missed her. She agreed to tell Ms. Fawver to
                 report by October 3, 2017, at 9:00 a.m. Ms. Fawver left the undersigned a voicemail
                 message later that evening and advised she would call back the following morning.

                 On October 3, 2017, Ms. Fawver did not make contact with the undersigned. Ms. Hearn,
                 however, sent a text message indicating Ms. Fawver was having car problems and was
                 working on having her car repaired. Ms. Fawver called later that day, advising she had been
                 ill. Ms. Fawver was then directed to report the following morning by 10:00 a.m., which she
                 agreed to do so.

                 On October 4, 2017, Ms. Fawver failed to report that morning as directed. That afternoon,
                 the undersigned received a voicemail message from Ms. Fawver’s mother, Sally Campbell.
                 Ms. Campbell stated Ms. Fawver was very ill that morning and went to the emergency room.

                 The undersigned received a message hours later from Brittney Hearn who advised they were
                 at the Valley Hospital emergency room and she believed Ms. Fawver would be admitted.

                 Ms. Fawver’s DOC officer contacted the undersigned, who advised that he has continually
                 been trying to make contact with Ms. Fawver. He made contact with Brittney Hearn who
                 indicated a change in hospitals on two occasions when he advised he was making efforts to
                 locate Ms. Fawver at the hospital.

                 On October 5, 2017, the undersigned contacted the Valley Hospital emergency room. They
                 advised that Ms. Fawver was not currently at the emergency room and she was not
                 previously admitted into the hospital.

                 As of this date, Ms. Fawver has failed to report to the U.S. Probation Office. It would
                 appear she has absconded from supervision.
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          2           Special Condition # 18: You shall complete a mental health evaluation and follow any
                      treatment recommendations of the evaluating professional which do not require forced or
                      psychotropic medication and/or inpatient confinement absent further order of the Court.
                      You shall allow reciprocal release of information between the supervising officer and
                      treatment provider. You shall contribute to the cost of treatment according to your ability
                      to pay.

                      Supporting Evidence: On November 25, 2016, supervision commenced in this matter. On
                      November 28, 2016, a supervision intake was completed. Ms. Fawver signed a copy of her
                      judgement, acknowledging an understanding of the conditions imposed by the Court, which
                      includes standard condition number 18, as noted above.

                      Ms. Fawver violated the terms of her supervised release by failing to appear for a mental
                      health session on or about September 26, 2017.

                      On October 3, 2017, contact was made with mental health provider, Robert Shepard. He
                      advised that Ms. Fawver was scheduled for an appointment on September 26, 2017, which
                      she failed to show up for.


          3           Special Condition # 20: You shall undergo a substance abuse evaluation and, if indicated
                      by a licensed/certified treatment provider, enter into and successfully complete an approved
                      substance abuse treatment program, which could include inpatient treatment and aftercare.
                      You shall contribute to the cost of treatment according to your ability to pay. You shall
                      allow full reciprocal disclosure between the supervising officer and treatment provider.

                      Supporting Evidence: On November 25, 2016, supervision commenced in this matter. On
                      November 28, 2016, a supervision intake was completed. Ms. Fawver signed a copy of her
                      judgement, acknowledging an understanding of the conditions imposed by the Court, which
                      includes standard condition number 20, as noted above.

                      Ms. Fawver violated the terms of her supervised release by failing to appear for a substance
                      abuse evaluation on or about September 28, 2017.

                      On August 14, 2017, Ms. Fawver was directed to participate in a substance abuse evaluation.
                      A substance abuse evaluation was scheduled for September 28, 2017. Ms. Fawver failed to
                      appear for that evaluation.

The U.S. Probation Office respectfully recommends the Court issue a warrant for the arrest of the offender to
answer the allegations contained in this petition.



                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                           Executed on:     October 6, 2017
                                                                            s/Melissa Hanson
                                                                            Melissa Hanson
                                                                            U.S. Probation Officer
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 THE COURT ORDERS

 [ ]      No Action
 [X ]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ ]      Other

                                                               Signature of Judicial Officer

                                                                   October 10, 2017
                                                               Date
